                 EXHIBIT G




Case 5:19-cv-00475-BO   Document 58-7   Filed 02/12/21   Page 1 of 9
From:                             Breslin, Mike <mbreslin@kilpatricktownsend.com>
Sent:                             Friday, October 16, 2020 2:37 PM
To:                               Gallo, Joseph
Cc:                               Dowdy, Joe; Wiley, Adam; LaVigne, Christopher
Subject:                          RE: Williams v AT&T meet and confer


Joe –

Quick update: my client is checking to ensure the folks we’ve ID’d re: security measures can cover both the retail store
and customer care channels. If not, we’ll have to add another person to the list. I’m waiting to hear back and will have
the initial list once we pin this down.

Thanks,
‐Mike

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From: Breslin, Mike
Sent: Wednesday, October 14, 2020 5:34 PM
To: 'Gallo, Joseph' <Joseph.Gallo@withersworldwide.com>
Cc: Dowdy, Joe <JDowdy@kilpatricktownsend.com>; Wiley, Adam <AWiley@kilpatricktownsend.com>; LaVigne,
Christopher <Christopher.LaVigne@withersworldwide.com>
Subject: RE: Williams v AT&T meet and confer

Joe –

We’ve ID’d some of the individuals already and are waiting on our client to confirm one (or maybe two) more
person(s). I’d anticipate getting you the names and descriptions before the weekend.

Thanks,
‐Mike

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From: Gallo, Joseph <Joseph.Gallo@withersworldwide.com>
Sent: Wednesday, October 14, 2020 5:23 PM
To: Breslin, Mike <mbreslin@kilpatricktownsend.com>
Cc: Dowdy, Joe <JDowdy@kilpatricktownsend.com>; Wiley, Adam <AWiley@kilpatricktownsend.com>; LaVigne,


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Christopher <Christopher.LaVigne@withersworldwide.com>
Subject: RE: Williams v AT&T meet and confer




Mike:

Following up on this. Where is the list of individuals we discussed (in response to Interrogatory No. 15)? It probably
makes sense for us to have that list before we speak again, and it would seem relatively simple for you to provide it to
us. Please let us know, thanks.

Joe

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From: Breslin, Mike [mailto:mbreslin@kilpatricktownsend.com]
Sent: Tuesday, October 6, 2020 2:20 PM
To: Gallo, Joseph <Joseph.Gallo@withersworldwide.com>
Cc: Dowdy, Joe <JDowdy@kilpatricktownsend.com>; Wiley, Adam <AWiley@kilpatricktownsend.com>; LaVigne,
Christopher <Christopher.LaVigne@withersworldwide.com>
Subject: RE: Williams v AT&T meet and confer

Thanks, Joe. I agree we should exchange information on what searches have been performed. We have done the
searches you reference below and plan to discuss further searches with you, with the identification of potential AT&T
custodians we’ve been discussing below as a step in that direction. On our next call lets plan on sharing what searches
have been performed on both sides and what additional searches the parties think are appropriate.

Best,
‐Mike

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                    Case 5:19-cv-00475-BO                      Document 58-7                Filed 02/12/21              Page 3 of 9
office 404 685 6752 | fax 404 541 4749
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From: Gallo, Joseph <Joseph.Gallo@withersworldwide.com>
Sent: Tuesday, October 6, 2020 1:37 PM
To: Breslin, Mike <mbreslin@kilpatricktownsend.com>
Cc: Dowdy, Joe <JDowdy@kilpatricktownsend.com>; Wiley, Adam <AWiley@kilpatricktownsend.com>; LaVigne,
Christopher <Christopher.LaVigne@withersworldwide.com>
Subject: RE: Williams v AT&T meet and confer




Thanks for the response Mike. Those expert dates look right to me as well.

I understand your clarification regarding the list of individuals. As mentioned on the phone, we will look at the list you
provide, but we are not agreeing to limit the scope of that interrogatory (I don’t think you meant to imply that we were, but
figured I would clarify that point).

I am still a bit unclear on the status of searches for communications that AT&T has done to date. Let me ask it another
way: to date, has AT&T conducted any searches for potentially responsive communications aside from (1)
communications directly related to Mr. Williams’ account; and (2) communications at the AT&T Board of Directors
Level? I thought I asked you that question yesterday and you answered in the negative, but obviously if AT&T has
performed additional searches for communications, please correct me and explain what other searches have been
done. I think it would be helpful to understand what AT&T has done so far, so our next meet and confer about additional
searches is transparent and productive. Thanks.

Regards,
Joe


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From: Breslin, Mike [mailto:mbreslin@kilpatricktownsend.com]
Sent: Tuesday, October 6, 2020 12:51 PM
                                                                              3
                    Case 5:19-cv-00475-BO                      Document 58-7                Filed 02/12/21              Page 4 of 9
To: Gallo, Joseph <Joseph.Gallo@withersworldwide.com>
Cc: Dowdy, Joe <JDowdy@kilpatricktownsend.com>; Wiley, Adam <AWiley@kilpatricktownsend.com>; LaVigne,
Christopher <Christopher.LaVigne@withersworldwide.com>
Subject: RE: Williams v AT&T meet and confer

Joe –

This looks correct except: (1) we are compiling a list of individuals consistent with the offer in our Sept. 18, 2020 letter to
identify the people we believe are most knowledgeable about the subjects we presume you are interested in, since you
indicated on the call yesterday that you’d like us to compile and produce those names, and this is an effort to
compromise subject to AT&T’s objections to Rog 15; (2) we have searched for potentially responsive communications
beyond those directly related to Mr. Williams’ account, including documents and communications at the AT&T Board of
Directors Level as plaintiff requested.

Let me discuss the discovery extension with my client and I’ll get back to you. I understand you’re proposing the
following changes (let me know if incorrect):
     ‐ Plaintiff’s expert disclosure = November 16
     ‐ Defendant’s expert disclosure = December 16
     ‐ Rebuttal disclosures = January 18 (the 16th is a Saturday)

Thanks,
‐Mike

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From: Gallo, Joseph <Joseph.Gallo@withersworldwide.com>
Sent: Tuesday, October 6, 2020 11:51 AM
To: Breslin, Mike <mbreslin@kilpatricktownsend.com>
Cc: Dowdy, Joe <JDowdy@kilpatricktownsend.com>; Wiley, Adam <AWiley@kilpatricktownsend.com>; LaVigne,
Christopher <Christopher.LaVigne@withersworldwide.com>
Subject: RE: Williams v AT&T meet and confer




Mike, per our discussion, see below for a summary of how we left things on yesterday’s call. If you have a different
recollection, please let me know.

         Plaintiff does not agree to limit the scope of any of its requests.
         AT&T does not waive any of its objections to the requests.
         You told us yesterday that AT&T has compiled a list of individuals responsive to Interrogatory No. 15, that AT&T
          has not yet produced that list, and that AT&T will produce that list shortly.
         You told us yesterday that AT&T has searched for additional documents to include in a supplemental production,
          and that AT&T intends to make that supplemental production this week.
         You told us yesterday that AT&T is not intending to include any communications in its supplemental
          production. You told us yesterday that AT&T has not yet searched for any potentially responsive
          communications, aside from communications directly related to Mr. Williams’ SIM swaps.

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         You told us yesterday that you will confer with AT&T to discuss potential additional document and communication
          searches, and contact me (hopefully by later this week or early next week) to discuss those additional searches.

Regarding the issue of expert disclosure deadlines, as discussed, our position is that expert disclosure is premature at
this stage because we believe that there is substantial outstanding discovery that Plaintiff is entitled to receive from
AT&T. Accordingly, we propose a one month extension of the existing expert disclosure deadlines for now, and that the
parties see how discovery progresses in the next month before discussing the necessity of further extensions. Please let
us know your response to this proposal as soon as you confer with your client. Thank you.

Regards,
Joe

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From: Gallo, Joseph
Sent: Monday, October 5, 2020 4:10 PM
To: 'Breslin, Mike' <mbreslin@kilpatricktownsend.com>
Cc: Dowdy, Joe <JDowdy@kilpatricktownsend.com>; Wiley, Adam <AWiley@kilpatricktownsend.com>; LaVigne,
Christopher <christopher.lavigne@withersworldwide.com>
Subject: RE: Williams v AT&T meet and confer

It seems like people were having some issues with Skype, so please use the dial-in below:

participant access code: 10 55 088#

Toll Free:
United States: +1 (866) 499-2813

Toll:
United States: +1 (312) 380 0428

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From: Breslin, Mike [mailto:mbreslin@kilpatricktownsend.com]
Sent: Friday, October 2, 2020 11:15 AM
To: Gallo, Joseph <Joseph.Gallo@withersworldwide.com>
Cc: Dowdy, Joe <JDowdy@kilpatricktownsend.com>; Wiley, Adam <AWiley@kilpatricktownsend.com>; LaVigne,
Christopher <Christopher.LaVigne@withersworldwide.com>
Subject: RE: Williams v AT&T meet and confer

That works for us. Thanks.

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From: Gallo, Joseph <Joseph.Gallo@withersworldwide.com>
Sent: Friday, October 2, 2020 9:14 AM
To: Breslin, Mike <mbreslin@kilpatricktownsend.com>
Cc: Dowdy, Joe <JDowdy@kilpatricktownsend.com>; Wiley, Adam <AWiley@kilpatricktownsend.com>; LaVigne,
Christopher <Christopher.LaVigne@withersworldwide.com>
Subject: RE: Williams v AT&T meet and confer




How about 4pm ET/1pm PT? If that works, I will send a calendar invite with dial-in information. Let me know, thanks.

Joe

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From: Breslin, Mike [mailto:mbreslin@kilpatricktownsend.com]
Sent: Thursday, October 1, 2020 8:05 PM
To: Gallo, Joseph <Joseph.Gallo@withersworldwide.com>
Cc: Dowdy, Joe <JDowdy@kilpatricktownsend.com>; Wiley, Adam <AWiley@kilpatricktownsend.com>; LaVigne,
Christopher <Christopher.LaVigne@withersworldwide.com>
Subject: RE: Williams v AT&T meet and confer

Joe –

Monday is fairly open for us. What time do you propose? FYI, Adam is on Pacific Time.

Thanks,
‐Mike

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From: Gallo, Joseph <Joseph.Gallo@withersworldwide.com>
Sent: Thursday, October 1, 2020 11:34 AM
To: Breslin, Mike <mbreslin@kilpatricktownsend.com>
Cc: Dowdy, Joe <JDowdy@kilpatricktownsend.com>; Wiley, Adam <AWiley@kilpatricktownsend.com>; LaVigne,
Christopher <Christopher.LaVigne@withersworldwide.com>
Subject: Williams v AT&T meet and confer




Mike:

We are in receipt of the attached letter from your firm, and we do not believe it addresses the deficiencies in AT&T’s
discovery responses and document production. We would like to set up for a meet and confer call. What is your
availability on Monday and Tuesday of next week for a call? Please let us know, and we can get something on the
calendar. Thank you.

Regards,
Joe

Joseph Gallo
Senior Associate
                                                                              7
                    Case 5:19-cv-00475-BO                      Document 58-7                Filed 02/12/21              Page 8 of 9
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